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                     IN THE UNITED STATES DISTRICT COURT
                        THE MIDDLE DISTRICT OF GEORGIA
                              COLUMBUS DIVISION
CARLTON GARY,                           *
             Petitioner,                *
vs.                                     *
                                                 CASE NO. 4:97-CV-181(CDL)
WILLIAM TERRY, Warden,1                 *
             Respondent.                *

                                    O R D E R
       Petitioner has filed a “Motion for Discovery Procedures Regarding
Bite Mark Impression and for Funds for Expert Evaluation of the Bite
Mark Impression.”       For the reasons discussed below, this motion is
granted.
                            I.   RELEVANT BACKGROUND
       On April 19, 1978, sixty-one year old Janet Cofer’s body was
found lying in her bed covered with linen and with a pillow over her
face.      (Resp’t Ex. 54, at 3179, 3200, 3206.)            Mrs. Cofer had been
raped and strangled with a stocking.            (Resp’t Ex. 54, at 3218-19).
Mrs. Cofer was believed to be one of the victims of the so-called
“Columbus Stocking Strangler.”
       At Petitioner’s trial, the State introduced evidence regarding
the strangulation death of Mrs. Cofer as a similar transaction,
allegedly tending to prove Petitioner’s guilt with regard to the three
murders charged in the indictment.              (Resp’t Ex. 54, at 3215-36).
Petitioner was found guilty and received the death penalty for the




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      William Terry is now       the   Warden   of   the   Georgia Diagnostic and
Classification Center.
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three rapes and murders shown in the indictment.2                      The evidence
relating to Mrs. Cofer was introduced by the State solely to show
similar mode, method, and motivation.
     It was not disclosed to the defense, either prior to trial or at
trial, that an impression or cast had been made of a bite mark on
Mrs. Cofer’s left breast. Dr. Weber testified that during the autopsy
he observed “what appeared to be tooth marks” on Mrs. Cofer’s breast
and he consulted “odontology experts.”             (Resp’t Ex. 54, at 3215-17).
Moreover, Dr. Weber testified that the experts determined that any
comparison between the bite mark and Petitioner would not be valid
because Petitioner had dental work between the time of Mrs. Cofer’s
murder and the time of his arrest.                (Resp’t Ex. 54, at 3234-35).
Dr. Weber never mentioned the existence of a bite mark impression.
     During the state habeas corpus proceedings, Petitioner first
learned that a dentist from the Columbus area, Dr. Carlos Galbreath,
had made a cast or impression of the bite mark on Mrs. Cofer’s breast.
(R. at 106.)    Petitioner also learned that prior to his trial, the
prosecutors    consulted        with   Dr.    Thomas   J.     David,    a   forensic
odontologist, regarding the cast.               (David Aff. May 9, 1994, ¶ 5.)
Petitioner’s    counsel    at    the   time     interviewed   Dr.   Galbreath   and
Dr. David.    (Ertel Decl. July 30, 2003, ¶ 4; Ertel Supplemental Decl.
Feb. 10, 2004.)
     At   Petitioner’s     state       habeas    corpus     hearing, Petitioner’s
attorneys questioned both of the prosecutors from Petitioner’s trial
regarding the whereabouts of the bite mark impression.                   One of the


     2
      Petitioner was charged with and convicted of raping and murdering three
elderly women who resided in Columbus, Georgia: Kathleen Woodruff; Florence
Scheible; and Martha Thurmond.

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prosecutors, Judge William Smith, testified that after they consulted
Dr. Thomas J. David, the bite mark impression was given back to
Dr. Galbreath.     (Resp. Ex. 245, at 282.)       Judge Smith stated that
Dr. Galbreath still had the impression, “as far as [he] knew.” (Id.)
     Doug Pullen, the second prosecutor, testified that he was with
the group who transported the bite mark impression to Dr. David’s
office, and he had no idea what happened to the bite mark impression
afterwards.     (Resp. Ex. 143, at 39-41.)     Petitioner was not able to
locate the bite mark impression while his state habeas corpus action
was pending.
     While his federal habeas corpus action was pending in this Court,
Petitioner learned that the bite mark impression might still be in
existence.     On October 28, 2003, Petitioner filed a Motion to Secure
Custody of Critical Evidence.       (R. at 106.)      In response to this
motion, the Court held a hearing on November 10, 2003, and authorized
the issuance of subpoenas to several individuals who might know of the
existence and/or location of the bite mark impression. (Nov. 10, 2003
Transcript.)     The subpoenas were served and the Court held hearings
regarding the existence and location of the bite mark impression on
November 25, 2003 and December 22, 2003.       (Nov. 25 and Dec. 22, 2003
Transcripts.)      At both of these hearings, all of the witnesses
testified that they did not know where the bite mark impression might
be located.     (Nov. 25, 2003 Transcript, at 6, 18-19, 23-24, 27, 31;
Dec. 22, 2003 Transcript, p. 5, 7-8.)
     The bite mark impression was not located during the pendency of
this case in the District Court, and on September 28, 2005 the Court
entered an Order Denying Petitioner’s Application for Writ of Habeas
Corpus.   (R. at 127.)    Petitioner filed a Notice of Appeal, and this

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Court granted a Certificate of Appealability as to certain issues,
including issues regarding the bite mark impression made of the bite
mark found on the left breast of Mrs. Janet Cofer.                    (R. at 129, 139.)
     On November 9, 2005, counsel for Petitioner received a telephone
call from counsel for Respondent indicating that the Muscogee County
Coroner,     James    Dunnavant,        had     recently    located     the     bite   mark
impression.     (Ex. D. attached to Petitioner’s Motion for Discovery
Procedures Regarding Bite Mark Impression and for Funds for Expert
Evaluation     of    the       Bite   Mark     Impression.)      In     light    of    this
development, Petitioner moved the Eleventh Circuit Court of Appeals to
remand the case to this Court for further proceedings regarding the
bite mark impression.             On November 23, 2005, the Eleventh Circuit
granted Petitioner’s Motion to Remand.                (R. at 154.)

                                      II.    DISCUSSION
     In his Motion for Discovery Procedures Regarding Bite Mark
Impression and for Funds for Expert Evaluation of the Bite Mark
Impression, Petitioner requests that he be permitted to take the
deposition of        Muscogee County Coroner James Dunnavant, and that
Mr. Dunnavant be required to produce the bite mark impression at the
deposition so that it may be evaluated by Dr. Thomas J. David (who
presumably would be in attendance at the deposition).                     Upon viewing
the bite mark impression, Petitioner maintains that Dr. David will be
able to determine if it is still a useful impression.                     If Dr. David
determines    it     is    a   useful       impression,    Petitioner    requests      that
Dr. David be allowed to make an exemplar of the impression (described
as “essentially a negative impression of the bite mark cast”) for




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comparison purposes.       Petitioner also requests funds, not to exceed
$1,500.00, to pay for the services of Dr. David.3
       When determining whether to allow discovery in a federal habeas
corpus action, there are several rules and statutes that the Court
must consider.       First, Rule 6 of the Rules Governing § 2254 Cases
(hereinafter “Rule 6") provides that “[a] party shall be entitled to
invoke the processes of discovery available under the Federal Rules of
Civil Procedure if, and to the extent that, the judge in the exercise
of his discretion and for good cause shown grants leave to do so, but
not otherwise.”
       Next, Federal Rule of Civil Procedure 30, along with Rule 6,
allows the taking of depositions in a habeas corpus action.             Also,
Federal Rules of Civil Procedure 34(c) and 45, along with Rule 6,
provide a procedure for Mr. Dunnavant to be required to produce the
bite mark cast in the office of Dr. David so that an exemplar may be
made.
       Finally, to the extent that Petitioner is seeking financial
assistance for an expert (Dr. David), his request is governed by 21
U.S.C. § 848 (q)(9), which provides as follows:
       Upon a finding that investigative, expert, or other services
       are reasonably necessary for the representation of the
       defendant, whether in connection with issues relating to
       guilt or the sentence, the court may authorize the
       defendant’s attorneys to obtain such services on behalf of
       the defendant and, if so authorized, shall order the payment
       of fees and expenses therefor under paragraph (10).
Id.


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      Petitioner’s current motion deals only with these specific requests.
Moreover, this Order grants only these specific discovery requests.
Petitioner states that if these steps can be successfully completed, he may
need to request additional discovery in the future. The Court will address
future discovery requests if, and when, Petitioner files such motion(s).

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As these various rules and statutes provide a means of accomplishing
the discovery Petitioner seeks, the issue is whether he is entitled to
such discovery and funds.
     Since the enactment of the Antiterrorism and Effective Death
Penalty Act (hereinafter “AEDPA”), the first question a court must ask
before allowing discovery is if the requesting party was reasonably
diligent in his pursuit of the discovery at the state level.          In two
post-AEDPA cases, the Eleventh Circuit explained that if a habeas
petitioner has not been reasonably diligent in developing the factual
basis for a claim while in state court, he will not be allowed to do
so in federal court unless he can meet the narrow exceptions provided
in 28 U.S.C. 2254 (e)(2).4        Isaacs v. Head, 300 F.3d 1232, 1248-49
(11th Cir. 2002) and Crawford v. Head, 311 F.3d 1288, 1329 (11th Cir.
2002).    Moreover the Eleventh Circuit explained that “reasonably
diligent” meant that “‘the prisoner made a reasonable attempt, in
light of information available at the time, to investigate and pursue
claims in state court.’”         Isaacs, 300 F.3d at 1248-49 (quoting
Williams v. Taylor, 529 U.S. 420, 435 (2000)).




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       28 U.S.C. § 2254 (e)(2) provides as follows:
      If the applicant has failed to develop the factual basis of a claim in
State court proceedings, the court shall not hold an evidentiary hearing on
the claim unless the applicant shows that-
(A) the claim relies on-
       (i) a new rule of constitutional law, made retroactive to cases on
collateral review by the Supreme Court, that was previously unavailable; or
     (ii) a factual predicate that could not have been previously discovered
through the exercise of due diligence; and
(B) the facts underlying the claim would be sufficient to establish by clear
and convincing evidence that but for constitutional error, no reasonable
factfinder would have found the applicant guilty of the underlying offense.

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     Respondent maintains that Petitioner should not be allowed to
conduct discovery because he was not reasonably diligent at the state
level locating the bite mark impression.           To support this theory,
Respondent points to this Court’s April 2, 2004 Order, in which it
denied Petitioner’s Motion for Evidentiary Hearing Regarding the
State’s Conduct in Preventing the Petitioner Access to the Bite Mark
Evidence.     (R.   at   125.)    In   this   Order,   the   Court    held   that
“Petitioner has not shown that he was reasonably diligent during the
state court proceedings in developing the factual basis for his claim
that the State failed to preserve potentially exculpatory evidence.”
(R. at 125, p. 10.)         However, this Court has never found that
Petitioner lacked diligence in his pursuit of the bite mark cast
itself.   In fact, the Court held three previous hearings in an attempt
to determine if the bite mark impression still existed and, if so,
where it was located.      (Nov. 10, 2003, Nov. 25, 2003, and Dec. 22,
2003 Transcripts).       Had the Court found that Petitioner was not
diligent at the state level in his attempts to locate the bite mark
cast, it would not have held the previous hearings.                  The Court’s
finding that Petitioner was not diligent in his development of facts
to support his claim that the State intentionally destroyed the bite
mark impression, is not the equivalent of finding that Petitioner was
not diligent in his attempts to find the bite mark impression itself.5
     To the contrary, it appears Petitioner made a reasonable attempt


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      The Court explained exactly this in its April 2, 2004 Order when it
stated that “a finding that the state habeas counsel may have been diligent
in attempting to locate the bite mark evidence is not equivalent to finding
that counsel was diligent in developing the facts to support his claim that
the State intentionally destroyed the bite mark cast.” (R. at 125, p. 11
n.3.)


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to locate the bite mark impression while his case was pending at the
state habeas corpus level.         His attorneys requested any bite mark
impression during the state habeas proceeding and questioned both of
the prosecutors from the trial regarding the existence and location of
the bite mark impression.        (Resp. Ex. 245, at 282; Resp. Ex. 143, at
39-41.)    Petitioner’s state habeas counsel undertook to interview the
State’s forensic odontologist and a dentist to recover the cast.                 The
dentist (Dr. Galbreath) told Petitioner’s attorney that the cast had
been misplaced or destroyed.       (Ertel Decl., July 30, 2003, ¶ 4; Ertel
Supplemental Decl., Feb. 10, 2004).          Apparently it has now been found.
In light of his counsels’ efforts at the state habeas level, it does
not appear that AEDPA would bar discovery and the Court must look at
pre-AEDPA law to determine if discovery is warranted.
     The Supreme Court has explained that Rule 6(a) is meant to be
consistent with Harris v. Nelson, 394 U.S. 286 (1969).                     Bracy v.
Gramley,    520   U.S.    899,   909    (1997);   See   also   Rule    6   Advisory
Committee’s Notes.        Therefore, a petitioner has established “good
cause” for discovery if “specific allegations before the court show
reason to believe that the petitioner may, if the facts are fully
developed, be able to demonstrate that he is entitled to relief.”
Harris, 394 U.S. at 299.
     In    this   case,    the   bite    mark     impression   is     relevant    to
Petitioner’s ground nine suppression of exculpatory evidence.                    The
State has a duty of disclosure under Brady v. Maryland, 373 U.S. 83
(1963), and its progeny.         In order to obtain relief under Brady, a
petitioner must show that the prosecution withheld evidence, that the
withheld evidence was exculpatory or impeaching, and material so as to
establish prejudice.      Stephens v. Hall, 407 F.3d 1195, 1203 (11th Cir.

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2005).     The bite mark cast was withheld, and it may, or may not, be
exculpatory, material evidence.           It appears the only way to find out
is through discovery.
       The bite mark cast could also be relevant to Petitioner’s ground
eight—the trial court’s erroneous denial of funds for an adequate
defense.      Specifically, Petitioner claims that his due process and
equal protection rights were denied by the refusal of the trial court
to provide funds for a forensic odontologist.              Petitioner has always
maintained that had the State disclosed the bite mark impression and
had he been afforded his own forensic odontologist, he could have
established that he did not make the bite mark.               The State’s theory
was    that   one   person    committed   all   of   the   murders.     Therefore,
according to the Petitioner, undermining the State’s evidence of the
bite mark on Janet Cofer would have resulted in undermining the
State’s whole case.          Again, it appears that discovery regarding the
bite mark impression is necessary to establish this claim.
       In relation to Petitioner’s request for funds for Dr. Thomas J.
David, a habeas petitioner requesting funds to pay for an expert
simply has to show that the proposed expert is reasonably necessary.
See Rojem v. Gibson, 245 F.3d 1130, 1139 (10th Cir. 2001); see also
Randy Hertz, James S. Liebman, Federal Habeas Corpus Practice and
Procedure § 19.3 (4th ed. 2001)(explaining that the language in § 848
“suggest[s] that Congress intended to provide prisoners, upon request,
with all resources needed to discover, plead, develop, and present
evidence determinative of their ‘colorable’ constitutional claims”).
Petitioner has shown that the assistance of Dr. Thomas J. David is
reasonably necessary.          Therefore, the Court, pursuant to 21 U.S.C.



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§ 848 (q)(9), authorizes Petitioner to obtain his services to the
extent described in Petitioner’s motion.

                             III.   CONCLUSION
     For the foregoing reasons, Petitioner’s Motion for Discovery
Procedures Regarding Bite Mark Impression and for Funds for Expert
Evaluation of the Bite Mark Impression (Doc. 153) is GRANTED.6
     IT IS SO ORDERED, this 23rd day of December, 2005.


                                          S/Clay D. Land
                                                  CLAY D. LAND
                                           UNITED STATES DISTRICT JUDGE




     6
      Petitioner should complete and submit a CJA-31 form to obtain payment,
not to exceed $1,500.00, for the expert services of Dr. Thomas J. David.

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